                         Case 1:21-cv-10525-JCB Document 9 Filed 04/13/21 Page 1 of 2
  ATTORNEY OR PARTY WITHOUT ATTORNEY (Name and Address)                      TELEPHONE NUMBER               FOR COURT USE ONLY
  Carson Shea SBN 694237 (MA)                                                (617) 512-5039
  Eckert Seamans Cherin & Mellott, LLC
  2 International Pl 1600
  Boston, MA 02110
  ATTORNEY FOR Plaintiff

  DISTRICT COURT, BOSTON
  1 Courthouse Way Ste 2300
  Boston, MA 2210

  SHORT TITLE OF CASE:
  Saliogen Therapeutics, Inc. v. DNA Twopointo, Inc., et al.

  DATE:                    TIME:                       DEP./DIV.                                        CASE NUMBER:
                                                                                                        1:21-CV-10525-JCB

                                            Proof of Service                                            Ref. No. or File No:
                                                                                                        315699.00002


                                                            United States District Court


I certify that I am authorized to serve the Summons and Complaint in the within action pursuant to Fed.R.Civ.P4(l) and that I served:
Summons in a Civil Action; Complaint;


This Summons for: DNA TwoPointO, Inc. d/b/a ATUM, by serving, Jeremy Minshull, agent for service of process


I left the summons at: 37950 Central Ct, Newark, CA 94560


With Renee Rice, Admin./Person Apparently in Charge, a person of suitable age and discretion and in charge of the business at the time
of service,


On Date: 4/12/2021                 At Time: 12:44 PM


A declaration of diligence and/or mailing is attached if applicable.

Person attempting service:

  a. Name: Jason M. Burke
  b. I am a: California Registered Process Server - Independent Contractor, Registration: #555, County: Alameda
  c. Address: D&R Legal Process Service, LLC. 39159 Paseo Padre Pkwy. # 112, Fremont, CA 94538
  d. Telephone number: 510-797-9996
  e. The fee for this service was: $106.75


  I declare under penalty of perjury under the laws of the United States of America that the foregoing information contained in the return of
  service and statement of fees is true and correct.




                                                                       Jas on M . Burk e                     Date: 04/12/2021




                                                                   Proof of Se rvice                                     Invoice #: 4435645-01
                         Case 1:21-cv-10525-JCB Document 9 Filed 04/13/21 Page 2 of 2
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  DATE:                    TIME:                    DEP./DIV.                                              CASE NUMBER:
                                                                                                           1:21-CV-10525-JCB

                                      Proof of Service by Mail                                             Ref. No. or File No:
                                                                                                           315699.00002

                                                                                                                 FILE BY FAX

I am a citizen of the United States and employed in the County of Alameda State of California. I am and was on the dates herein
mentioned, over the age of eighteen years and not a party to the action.


On 04/12/2021 after substituted service was made, I served the within:


Summons in a Civil Action; Complaint;


On the defendant, in said action by placing a true copy thereof enclosed in a sealed envelope with postage thereon pre-paid for first class
in the United States mail At: Fremont, California, addressed as follows:
DNA TwoPointO, Inc. d/b/a ATUM, by serving, Jeremy Minshull, agent for service of process
37950 Central Ct, Newark, CA 94560



Person attempting service:

  a. Name: Jason M. Burke
  b. Address: D&R Legal Process Service, LLC. 39159 Paseo Padre Pkwy. # 112, Fremont, CA 94538
  c. Telephone number: 510-797-9996
  d. The fee for this service was: $106.75
  e. I am:
  (3) [X] a Registered California Process Server:
          (i) [X] Independent Contractor
          (ii) Registration No.: #555
          (iii) County: Alameda




 I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.




                                                                  Jason M. Burke                              Date: 04/12/2021




                                                           Proof of Se rvice by M ail                                   Invoice #: 4435645-01
